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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


SHANNON DAVES et al.,                         )
                                              )
                       Plaintiffs,            )
                                              )      Case No. 3:18-CV-0154
        v.                                    )      Judge David C. Godbey
                                              )
DALLAS COUNTY, TEXAS, et al.,                 )
                                              )
                       Defendants.            )


                                     NOTICE OF APPEAL

        Pursuant to Federal Rule of Appellate Procedure 4(a)(4)(B), Plaintiffs Shannon Daves,

Shakena Walston, Erriyah Banks, Destinee Tovar, Patroba Michieka, and James Thompson and

the Plaintiff class (“Plaintiffs”) hereby appeal to the United States Court of Appeals for the Fifth

Circuit from (a) the Memorandum Opinion and Order entered in this case on September 20, 2018

(Dkt. 164), and (b) the Preliminary Injunction Order entered in this case on the same date (Dkt.

165).

        As part of this notice of appeal, Plaintiffs submit the requisite filing fee of $505 and

respectfully request the district clerk to prepare the record on appeal pursuant to Federal Rule of

Appellate Procedure 10(a). Plaintiffs will order from the court reporter a transcript of such parts

of the proceedings not already on file as the appellants consider necessary, as required by Federal

Rule of Appellate Procedure 10(b)(1)(A).


Respectfully Submitted,

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**
  Admitted solely to practice law in New York; not admitted in the District of Columbia. Practice is limited pursuant
to D.C. App. R. 49.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of October, 2018, I electronically filed the foregoing

with the clerk of the court for the U.S. District Court, Northern District of Texas, using the

electronic case filing system of the Court.

                                                        /s/ Elizabeth Rossi
                                                        Elizabeth Rossi
